Case 2:18-cv-09631-SSV-KWR Document 6 Filed 11/05/18 Page 1 of 6

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

)
SUSAN LUTZ; )
) Case No.: \ 8 = “9
Plaintiff ) 6 eS l
) Division: gy;
v. ) Section: _ Jee |
)
) Judge:
HONORABLE SANDRA WILSON, PH.D., )
in her official capacity as Registrar of Voters, ) Magistrate Judge:
Orleans Parish Louisiana; )
)
Defendant )
)
COMPLAINT
NATURE OF THE COMPLAINT

Plaintiff Susan Lutz (herein referred to as “Lutz”), brings this action on behalf of herself against
the following Party: Honorable Sandra Wilson, Ph.D. (herein referred to as ““Wilson”), in her
official capacity as Registrar of Voters, Orleans Parish Louisiana. Lutz brings this action under
42 U.S.C. § 1983 for deprivation of any rights, privileges, or immunities secured by the
Constitution, under the due process clause. The Plaintiff's right to vote was suspended

unnecessarily.

JURISDICTION AND CITATIONS
Because this case involves a federal question, the Eastern District Court of Louisiana has

jurisdiction over this matter.

TENDERED F
OR
FILING _% Fee
nT | X pts
T 16 — _X Dktd_—
2018 Page 10f 5 ~__ CtRmDep__—_-_—=

Eastern Dist
Tict of
Deputy Cle rcuisiana
Case 2:18-cv-09631-SSV-KWR Document 6 Filed 11/05/18 Page 2 of 6

PARTIES
Plaintiff Susan Lutz has a mailing address of 1902 Wilton Dr., New Orleans, LA 70122. Wilson
has a mailing address of: Registrar of Voters, Parish of Orleans, City Hall, 1300 Perdido St.,

#1W24, New Orleans, LA 70112-2127.

VENUE
Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) because a substantial

amount of the events related to this case occurred in New Orleans, LA.

STATEMENT OF FACTS

1.) Lutz has never been convicted of any felonies, and yet received a notice from Wilson in
late 2016 stating that her voter registration had been suspended “because records filed in
this office indicate that you are under an order of imprisonment for conviction of a
felony.”

2.) Lutz has had one and only one arrest which resulted in dispositions, in a matter regarding
a former acquaintance. The ultimate disposition in that matter is that Lutz pled guilty
only to three misdemeanors.

3.) Lutz accepted a Plea Agreement on 08/10/16, in which she pled guilty to three Class 1
misdemeanors. For Virginia Case Number CR15000896-00, Lutz pled guilty to
misdemeanor Violation of Protective Order under Virginia Code § 18.2-60.4. For
Virginia Case Number CR15000896-01, Lutz pled guilty to misdemeanor Stalking under
Virginia Code § 18.2-60.3. For Virginia Case Number CR16000494-00, Lutz pled guilty

to misdemeanor Distribution Schedule V or VI Drug under Virginia Code § 18.2-248.

Page 2 of 5
Case 2:18-cv-09631-SSV-KWR Document 6 Filed 11/05/18 Page 3 of 6

4.) As part of Lutz’s Conviction and Sentencing Order, Lutz was allowed to live in New
Orleans, Louisiana, which is where she still resides.

5.) Lutz received a notice from the Party to this case named Sandra Wilson, Ph.D., Registrar
of Voters, Parish of Orleans. The Date of Mailing on this notice is 11/24/16 and the
notice states: “This office has received information that you have been convicted of a
felony and are under an order of imprisonment. In order to remain registered to vote in
Louisiana, the law requires that you appear IN PERSON at the office of the registrar
within 21 days after the date on which this notice was mailed to show proof why your
voter registration should not be suspended.”

6.) Lutz appeared at the Orleans Parish Registrar of Voters desk sometime before December
19, 2016 with with her Conviction and Sentencing Order to show proof that Lutz had
only been convicted of misdemeanors. At no time did the clerk at the desk specify what
type of proof was required to show why voter registration should not be suspended.
Additionally, the notice with Date of Mailing of 11/24/16 is vague about the type of proof
needed. The clerk at the office told Lutz that since Lutz was on probation, her right to
vote would be suspended.

7.) Lutz received a second notice from Wilson with Date of Mailing of 12/16/16. It says, “in
accordance with R.S. 18:176, you are hereby notified that your voter registration has been
suspended because records filed in this office indicate that you are under an order of
imprisonment for conviction of a felony.”

8.) Lutz called the Registrar of Voters, Parish of Orleans on 10/26/17 to make an inquiry
about her voting rights. Lutz spoke to Linda Tran who said that Lutz’s voting rights had

been suspended under Louisiana R.S. 18:102, and NOT R.S. 18:176 as the notice from

Page 3 of 5
Case 2:18-cv-09631-SSV-KWR Document 6 Filed 11/05/18 Page 4 of 6

the Registrar Wilson states. Lutz argued that if that was the case, she should have
received a Notice citing R.S. 18:102. No such Notice was ever received by Lutz.

9.) Lutz has recently come to realize on her own that if she is to prove the fact that she has
only ever been convicted of misdemeanors, she will need a copy of her FBI Rap Sheet.
On 09/05/18 Lutz mailed in a request to receive her FBI Rap Sheet. At that time she
found information on the internet which led her to believe that the turnaround time was
three to four weeks for such evidence. The FBI website now states that “Current
processing time for Identity History Summary requests submitted via the mail is 14-16
weeks.”, and so she expects to receive her file by 12/05/18 at the earliest. She is unable
to afford a new set of fingerprints to file for her FBI Rap Sheet electronically, which
would significantly expedite the process.

10.) On the first Notice from Wilson, Lutz was given a 21 day turnaround to provide
proof of no felony convictions. Lutz feels this is an unreasonably short length of time to
obtain and provide convincing “proof why your voter registration should not be

suspended”.

Page 40f 5
Case 2:18-cv-09631-SSV-KWR Document 6 Filed 11/05/18 Page 5 of 6

PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays this Honorable Court to:
a. Assume jurisdiction over this matter;

b. Grant reasonable attorney’s fees and court costs pursuant to the Equal Access to Justice

Act, § 28 U.S.C. 2412, et seq.

c. Grant such other relief as this Honorable Court may deem just and proper.

I declare under penalty of perjury (under the laws of the United States of America) that the
foregoing is true and correct.

Respectfully submitted this 15" day of October, 2018.

Respectfully submitted,

kh VQ

Susan Lutz, Pro Se

1902 Wilton Drive

New Orleans, LA 70122
Phone: 504-657-4097
Email: suelutz@gmail.com

Page 5o0f5
age 6 of 6
i
‘

t SES ee ~ ~ a oe ” ~ = ” = ms — — “ Lo - is i “

Malte lp it es
ye :

o .

od

ad

To

ao :

z

©

2.

2 1

E :

3

oOo

\ AGAD woy SS gorphog OOS
LIne XDM*SIA SAxXS PASC)

S300) $0 AAD (INAS TS | NN WANN

cee eee ee eb we

-cv-09631-SSAKWR D
Gt

i ~~ i
meziOL. ry eelOL
zezseotastz0 | zzzasorosiz0 |
ere t
oD my 86 SSW1d-1sala | E SSvIsisuid j
4 aug J9OvLs0d sn ' s9vLsodsn :
- oLP0S E oLv'0s |
N ' :
D - feet woh Lo oe ee voli nenacnag 1 Ae wae occa ee atennethen ce
of . ane : I teosoooo0 canon i I . lo.
OF ZESBOLOSLO zuzaeoLosica zezeeoroeis0 ‘ TLzaaOLOStLO |
SSVIO-LSMIS E ssvigusuls | SSvIdisuld | E SSVITLSU |.
iy BOvLSOdsn | |W a0VIsodsn | Ovlsod sn aovlsodsn ~
odP'0$ nS B2h'0S | oéb0$ if oLr'os
» : i f
tag wt ogy CR ay ORE CENCE YT SNYSTIQ MAN
> {
: ZAZAQ0L0S 120 S84 erzasovostz0 zezeeoosii0 “SQ NOAM, COL \
E sovidodsn | iE vie ; SSVITISUIS - . I
BOvLS sovisodsn | SK i
f 5er0s ger'0s aZe'Os Z7] We NS
. . 4
